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                  IN THE UNITXD STATESDISTRICT COURT                              221-1û 2218
                 FO R TH E W ESTE RN D ISTRICT O F W RGIN IA
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                         H ARRISO N BU RG D IW SION                        BY:        .
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U N ITE D STATES O F AM ERICA
                                                   Case N o.5:18cr00020
 V.


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     E RENEE SIFUENTES IA RA,
                                                   By: M ichaelF.U rbansld
      D efendant.                                  ClziefUnited StatesDistrictJudge

                                       O RD E R

      Tlzismatterwasreferred totheHonorableJoelC.Hoppe,United StatesMagistrate
Judge,pursuantto28U.S.C.j636q$(3),forthepumoseofconducdngapleahearinganda
plea colloquy underRule 11 ofthe FederalRtllesofCrim inalProcedute and prepnting

proposed hnclingsoffactand a recomm endadon asto theacceptance ofsuch plea as

tendered.TheMagistrateludgeflled areportandrecommendation on September18,2018,
zecom m encling thatdefendant'spleaofguilty to CountO ne ofthe Indictnentbeaccepted.

TheM agistrateJudgefied an amendedreportandzecommendaéon on September19,2018,
changing the dateofthepleahearing and again recom m ending thatdefendant'splea ofguilty

to CountOneoftheInclic% entbeaccepted.No objectionstotheamendedreportand
recom m endation have been filed,and thecourtisoftlae opinion thatthe am ended report

and recom m endaéop should be adopted in itsentirety.

      Accordingly,itisO RD ERED thattheam ended reportand the fndingsand

recommendation contained thereinareADOPTED (ECF No.42),theoriginalreportand
thefindingsand recommendation contained therein areREJECTED asmoot(ECF No.



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39),defendant'spleaofguiltyto CountOneoftheIndic% entisACCEPTED,and the
defendantisadjudgedGUILTY oftheoffensechargedinCountOneofthelndictment.
      ItisSO O O ERED .

      The Clerk isdirected to send acertified copy ofthisO rdezto allcounselofrecord.

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                                                   M ichaelF.Urbans '
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                                                   Clue mte ates lsttlctJudge




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